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 1   MATTHEW J. DOUGLAS
     Nevada Bar No. 11371
 2   ZACHARY CLAYTON
     WINNER & SHERROD
 3   1117 S. Rancho Drive
     Las Vegas, Nevada 89102
 4   Phone (702) 243-7000
     Facsimile (702) 243-7059
 5   mdouglas@winnerfirm.com
     zclayton@winnerfirm,com
 6
     Attorneys for Defendant GEICO General Insurance Co.
 7
                                      UNITED STATES DISTRICT COURT
 8
                                            DISTRICT OF NEVADA
 9

10   ALFREDO CASTELLANOS,                                CASE NO.: 2:19-cv-00602-JCM-VCF

11       Plaintiff,
                                                         STIPULATION TO         DISMISS     CASE
12   VS.                                                 WITH PREJUDICE

13   GEICO    GENERAL                   INSURANCE
     COMPANY,
14
         Defendant.
15

16
                    IT IS HEREBY STIPULATED by and between Bruce Tingey and Justin L. Dewey,
17
     attorney for the Plaintiff, ALFREDO CASTELLANOS, and Matthew J Douglas and Zachary
18
     Clayton, attorneys for Defendant, GEICO GENERAL INSURANCE COMPANY that the
19
     Plaintiff’s Complaint be dismissed with prejudice, and each party to bear their own costs and
20
     attorney’s fees.
21
                    IT IS FURTHER STIPULATED that no jury fees were posted in the above referenced
22
     matter.
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     …
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 1                  IT IS FURTHER STIPULATED THAT no trial date has been scheduled in the above

 2   referenced matter.

 3                  DATED this 10th day of September, 2020.

 4

 5                                                    WINNER & SHERROD

 6

 7
                                                      MATTHEW J. DOUGLAS
 8                                                    Nevada Bar No. 11371
                                                      ZACHARY CLAYTON
 9                                                    Nevada Bar No. 13464
                                                      1117 South Rancho Drive
10                                                    Las Vegas, Nevada 89102
                                                      Attorneys for Defendant
11

12                  DATED this _______ 18,
                          September    day 2020.
                                           of ___________________, 2020.

13

14                                                    TINGEY INJURY LAW FIRM

15

16
                                                      BRUCE D. TINGEY
17                                                    Nevada Bar No. 5151
                                                      JUSTIN L. DEWEY
18                                                    Nevada Bar No. 14508
                                                      2001 W Charleston Blvd.
19                                                    Las Vegas, Nevada 89102
                                                      Attorneys for Plaintiff
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 1                                                                                Castellanos v. Geico
                                                                    Case No. 2:19-cv-00602-JCM-VCF
 2

 3                                                 ORDER
 4             Upon Stipulation by counsel for the parties, and good cause appearing therefore,
 5             IT IS HEREBY ORDERED that the Plaintiff’s Complaint be dismissed with prejudice,
 6   and each party to bear their own costs and attorney’s fees; and,
 7             IT IS FURTHER ORDERED that no jury fees have been posted in the above referenced
 8   matter.
 9             IT IS FURTHER ORDERED that no trial date has been scheduled in the above
10   referenced matter.
11             DATED this             day of                                      2020.
12

13

14                                                  DISTRICT JUDGE
15

16   Submitted by:
17   WINNER & SHERROD, LTD.
18

19
     MATTHEW J. DOUGLAS
20   Nevada Bar No. 11371
     ZACHARY CLAYTON
21   Nevada Bar No. 13464
     1117 South Rancho Drive
22   Las Vegas, Nevada 89102
     Attorneys for Defendant
23

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